UNITED STATES DISTRICT COURT
for the
WESTERN DISTRICT OF MISSOURI

Thomas R. McLean, MD )
)
Plaintiff, )
)
v )
) Civil Action No, 4:20-CV-593-BP
Jeffery W. Bruce, )
)
Defendant. )
SUGGESTION OF DEATH

1. On May 22, 2022,
a. Mr. Bruce filed a motion in 4:22-cv-127; and
b. at 8:41 PM, a woman who identified herself as Peggy Bruce, (the Defendant’s
wife), left a voice message on my telephone. The message stated that the Defendant
Jeffrey Bruce had passed away.
2. On May 23, 2022, I contacted Frontier Forensics Midwest, LLC (FFM), which serves as
Cass County’s coroner.
3. FFM stated that had received the body of Jeff Bruce (DOB: July 6, 1957) who resided in
Belton Mo.

Respectfully Submitted,

May 24, 2022

- McLean, Plaintiff pro se

4970 Park

Shawnee, KS, 66216
913-525-5526
tmelle1999;@email.com

Case 4:20-cv-00593-BP Document 202 Filed 05/24/22 Page 1 of 1
